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                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA


HOWARD GARY BROWN                                                CIVIL ACTION

VERSUS                                                           22-264-SDD-RLB

CITY OF CENTRAL, ET AL



                                           ORDER

       Service having been executed on Defendant, Roger Lynn Corcoran on July 25, 2022, and

a responsive pleading having been filed on August 1, 2022,

       IT IS ORDERED that the Motion for Entry of Default filed by Howard G. Brown is

DENIED.

       Baton Rouge, Louisiana, this 30th Day of August 2022.




                                                   MICHAEL L. MCCONNELL
                                                   CLERK OF COURT



                                                   BY:_______________________
                                                   Deputy Clerk
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